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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :
                                             :       CRIMINAL NO. 21-cr-28 (APM)
THOMAS EDWARD CALDWEL,                       :
                                             :
DONOVAN RAY CROWL, and                       :
                                             :
JESSICA MARIE WATKINS,                       :
                                             :
                       Defendants.           :


                           MOTION FOR PROTECTIVE ORDER

       The United States of America, by and through its attorney, the United States Attorney for
the District of Columbia, hereby respectfully moves the Court for the entry of a protective order
governing the production of discovery by the parties in the above-captioned case. The United
States has not been able to reach agreement with counsel for the defendants on this proposed
protective order.   Counsel for Mr. Caldwell opposes this protective order. To the knowledge of
the government, counsel for Mr. Crowl and Ms. Watkins have not yet been appointed.           As this
case was indicted on January 27, 2021, however, the government would like to start providing
discovery as soon as possible.   Much of the discovery to be provided at this time consists of data
from searches of cellular telephones and social media accounts. In order to turn over complete,
unredacted versions of this data, the government is seeking the proposed protective order.
       WHEREFORE, the government asks that this Court enter the proposed protective order.



                                             Respectfully submitted,

                                             MICHAEL R. SHERWIN
                                             ACTING UNITED STATES ATTORNEY
                                             N.Y. Bar No. 4444188

                                      By:       /s/ Kathryn L. Rakoczy
                                             Kathryn L. Rakoczy
                                             D.C. Bar No. 994-559
                                             Ahmed M. Baset
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                                              /s/ Alexandra Hughes
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                                              Trial Attorneys
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                                              United States Department of Justice
                                              950 Pennsylvania Avenue
                                              NW Washington, D.C. 20004


Dated:     February 12, 2021



                                 CERTIFICATE OF SERVICE

         I hereby certify that on February 12, 2021, I sent a copy of the foregoing via the Court’s

electronic filing system to counsel for the defendants.


                                                /s/ Kathryn L. Rakoczy
                                              Kathryn L. Rakoczy
                                              Assistant United States Attorney




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